Case 1:24-cv-00244-RGA Document 1-3 Filed 02/23/24 Page 1 of 31 PageID #: 32




                     Exhibit 3
                    Case 1:24-cv-00244-RGA Document 1-3 Filed 02/23/24 Page 2 of 31 PageID #: 33




Charted claims
Non-Method claim: 1
US8788360B2                                   VISA Tap to phone (“The Accused Product”)
1. A system       The accused product discloses a system (e.g., Tap to phone payments) for processing a wireless
for processing    request (e.g., payment request) over a network based on a human-perceptible advertisement
a wireless        (e.g., informing to tap to pay by a contactless payment card) for advertising to consumers a
request over a    product or service offered by a vendor (e.g., Small businesses, especially micro-businesses in
network           developing markets), the advertisement (e.g., informing to tap to pay by a contactless payment
based on a        card) attached with at least one radio frequency identification (RFID) tag (e.g., NFC tag on
human-
                  contactless card), the at least one RFID tag (e.g., NFC tag on contactless card) being configured
perceptible
                  to transmit a wireless identification transmission signal (e.g., tag responds with the requested
advertisement
for advertising   information corresponding to a prompt for inputting a PIN) representing information pertaining to
to consumers      the product or service offered by a vendor (e.g., Small businesses, especially micro-businesses in
a product or      developing markets).
service
                  As shown below, Visa Tap to phone is a contactless payment system using Near Field
offered by a
                  Communication (NFC) technology wherein a user can Pay with your contactless card to an
vendor, the
                  Android phone with NFC-technology equipped with tap to phone software (e.g., NFC tag)
advertisement
                  provided in the store. The Android phone with NFC-technology equipped with tap to phone
attached with
                  software is a platform for displaying a human-perceptible advertisement for advertising to
at least one
                  consumers a product or service offered by a vendor. The RFID tag (e.g., NFC tag) transmits a
radio
                  wireless identification transmission signal (e.g., tag responds with the requested information)
frequency
                  representing the product or service offered by a vendor (e.g., small businesses, especially micro-
identification
                  businesses in developing markets).
(RFID) tag,
the at least
one RFID tag
being
configured to
transmit a
                   Case 1:24-cv-00244-RGA Document 1-3 Filed 02/23/24 Page 3 of 31 PageID #: 34




wireless
identification
transmission
signal
representing
information
pertaining to
the product or
service
offered by a
vendor
comprising:




                 https://usa.visa.com/visa-everywhere/innovation/connected-commerce/tap-to-phone.html
  Case 1:24-cv-00244-RGA Document 1-3 Filed 02/23/24 Page 4 of 31 PageID #: 35




https://usa.visa.com/content/dam/VCOM/regional/na/us/visa-everywhere/documents/tap-to-
phone-technology-financial-inclusion-whitepaper.pdf
  Case 1:24-cv-00244-RGA Document 1-3 Filed 02/23/24 Page 5 of 31 PageID #: 36




https://www.ietf.org/archive/id/draft-ietf-6lo-nfc-18.txt
  Case 1:24-cv-00244-RGA Document 1-3 Filed 02/23/24 Page 6 of 31 PageID #: 37




https://usa.visa.com/visa-everywhere/innovation/connected-commerce/tap-to-phone.html
  Case 1:24-cv-00244-RGA Document 1-3 Filed 02/23/24 Page 7 of 31 PageID #: 38




https://usa.visa.com/visa-everywhere/innovation/connected-commerce/tap-to-phone.html
  Case 1:24-cv-00244-RGA Document 1-3 Filed 02/23/24 Page 8 of 31 PageID #: 39




https://www.youtube.com/watch?v=cU7VxMJf3u8&ab_channel=VisaCommunication
  Case 1:24-cv-00244-RGA Document 1-3 Filed 02/23/24 Page 9 of 31 PageID #: 40




https://usa.visa.com/visa-everywhere/innovation/connected-commerce/tap-to-phone.html




http://nearfieldcommunication.org/technology.html
 Case 1:24-cv-00244-RGA Document 1-3 Filed 02/23/24 Page 10 of 31 PageID #: 41




http://nearfieldcommunication.org/technology.html
                 Case 1:24-cv-00244-RGA Document 1-3 Filed 02/23/24 Page 11 of 31 PageID #: 42




                https://www.iso.org/standard/59643.html

mobile          The accused product discloses mobile ordering device (e.g., Android phone with NFC-technology)
ordering        of a human consumer who perceives the human-perceptible advertisement (e.g., informing to
device of a     tap to pay by a contactless payment card), the mobile ordering device (e.g., Android phone with
human           NFC-technology) comprising a radio frequency identification reader (e.g., Android phone
consumer who    operating as a reader) configured to transmit a signal (e.g., transmitting a continuous-wave (CW)
perceives the   RF signal for scanning the contactless card) to the at least one RFID tag (e.g., NFC tag on
human-          contactless card) attached with the advertisement (e.g., informing to tap to pay by a contactless
perceptible     payment card) and to receive in response (e.g., responds) from the at least one RFID tag (e.g.,
advertisement   NFC tag on contactless card) the wireless identification transmission signal (e.g., tag responds
, the mobile    with the requested information corresponding to a prompt for inputting a PIN) corresponding to
                  Case 1:24-cv-00244-RGA Document 1-3 Filed 02/23/24 Page 12 of 31 PageID #: 43




ordering         the advertisement (e.g., informing to tap to pay by a contactless payment card) and
device           representing information pertaining to the product or service offered by the vendor (e.g., Small
comprising a     businesses, especially micro-businesses in developing markets), the mobile ordering device
radio            (e.g., Android phone with NFC-technology) further configured to accept input (e.g., PIN for the
frequency        transaction) from a consumer, generate an electronic request (e.g., payment request) with the
identification   received information from the wireless identification transmission signal (e.g., tag responds with
reader           the requested information corresponding to a prompt for inputting a PIN) and communicate the
configured to    request (e.g., payment request) to and receive a response (e.g., acknowledgement in the form of
transmit a       Done or a checkmark on the display screen) from a commerce data system (e.g., Visa’s trusted
signal to the    global network) across a network.
at least one
RFID tag         As shown below, Visa Tap to phone is a contactless payment system using Near Field
attached with    Communication (NFC) technology wherein a user can Pay with your contactless card to an
the              Android phone with NFC-technology (e.g., NFC tag on reader’s phone). Initial connection setup is
advertisement    established through a radio frequency network wherein tag receives the instruction from the NFC
and to receive   Interrogator/reader or radio frequency identification reader (e.g., NFC antenna area) during the
in response      scanning process of the contactless card (equipped with an NFC Tag) and checks if it is valid. If it
from the at      is a valid request, the tag then responds with the requested information. This information
least one RFID   includes a prompt to enter the pin for continuing the payment.
tag the          After inputting the pin, the device sends a request to the commerce data system to process the
wireless         payment. Once the payment is processed, the commerce data system responds with an
identification   approved message and an option to send receipt for the transaction as the response to the
transmission     request.
signal
corresponding
to the
advertisement
and
representing
information
pertaining to
the product or
                  Case 1:24-cv-00244-RGA Document 1-3 Filed 02/23/24 Page 13 of 31 PageID #: 44




service
offered by the
vendor, the
mobile
ordering
device further
configured to
accept input
from a
consumer,
generate an
electronic
request with
the received
information      https://usa.visa.com/content/dam/VCOM/regional/na/us/visa-everywhere/documents/tap-to-
from the         phone-technology-financial-inclusion-whitepaper.pdf
wireless
identification
transmission
signal and
communicate
the request to
and receive a
response from
a commerce
data system
across a
network;



                 http://nearfieldcommunication.org/technology.html
 Case 1:24-cv-00244-RGA Document 1-3 Filed 02/23/24 Page 14 of 31 PageID #: 45




http://nearfieldcommunication.org/technology.html
 Case 1:24-cv-00244-RGA Document 1-3 Filed 02/23/24 Page 15 of 31 PageID #: 46




https://www.iso.org/standard/59643.html
 Case 1:24-cv-00244-RGA Document 1-3 Filed 02/23/24 Page 16 of 31 PageID #: 47




https://usa.visa.com/visa-everywhere/innovation/connected-commerce/tap-to-phone.html
 Case 1:24-cv-00244-RGA Document 1-3 Filed 02/23/24 Page 17 of 31 PageID #: 48




https://usa.visa.com/visa-everywhere/innovation/connected-commerce/tap-to-phone.html
 Case 1:24-cv-00244-RGA Document 1-3 Filed 02/23/24 Page 18 of 31 PageID #: 49




https://usa.visa.com/visa-everywhere/innovation/connected-commerce/tap-to-phone.html
 Case 1:24-cv-00244-RGA Document 1-3 Filed 02/23/24 Page 19 of 31 PageID #: 50




https://usa.visa.com/visa-everywhere/innovation/connected-commerce/tap-to-phone.html
 Case 1:24-cv-00244-RGA Document 1-3 Filed 02/23/24 Page 20 of 31 PageID #: 51




https://usa.visa.com/visa-everywhere/innovation/connected-commerce/tap-to-phone.html
 Case 1:24-cv-00244-RGA Document 1-3 Filed 02/23/24 Page 21 of 31 PageID #: 52




https://www.youtube.com/watch?v=xzEYrPkKUOw
 Case 1:24-cv-00244-RGA Document 1-3 Filed 02/23/24 Page 22 of 31 PageID #: 53




https://usa.visa.com/visa-everywhere/innovation/connected-commerce/tap-to-phone.html
                Case 1:24-cv-00244-RGA Document 1-3 Filed 02/23/24 Page 23 of 31 PageID #: 54




               https://www.youtube.com/watch?v=cU7VxMJf3u8&ab_channel=VisaCommunication

the mobile     The accused product discloses the mobile ordering device (e.g., Android phone with NFC-
ordering       technology) in communication with the commerce data system (e.g., Visa’s trusted global
device in      network), the commerce data system (e.g., Visa’s trusted global network) for receiving and
communicatio   processing the request (e.g., payment request) of the mobile ordering device (e.g., Android
n with the     phone with NFC-technology) across the network (e.g., RFID communication used by Near Field
commerce       Communication (NFC) technology), and responding to the request (e.g., payment request) by
data system,   sending information (e.g., acknowledgement in the form of Done or a checkmark on the display
the commerce   screen) to the mobile ordering device (e.g., Android phone with NFC-technology) via the
data system    network, the information associated with the wireless identification transmission signal (e.g., tag
                  Case 1:24-cv-00244-RGA Document 1-3 Filed 02/23/24 Page 24 of 31 PageID #: 55




for receiving    responds with the requested information corresponding to a prompt for inputting a PIN).
and
processing       As shown below, Visa’s Tap to Phone is a contactless payment system using Near Field
the request of   Communication (NFC) technology wherein a user can Pay with your NFC-enabled contactless
the mobile       card to a phone equipped with tap to phone software to accept payments. The device requests
ordering         the payment process by inputting PIN that is required in the transaction to contactless card
device across    which when tapped on the reader of the phone equipped with Tap on Phone completes the
the network,     transaction, to which the commerce data system (e.g., payments from any contactless card or
and              mobile wallet) responds by an acknowledgement shown as a checkmark or an approved
responding to    message.
the request by
sending
information to
the mobile
ordering
device via the
network, the
information
associated
with the
wireless
identification
transmission
signal.

                 https://usa.visa.com/visa-everywhere/innovation/connected-commerce/tap-to-phone.html
 Case 1:24-cv-00244-RGA Document 1-3 Filed 02/23/24 Page 25 of 31 PageID #: 56




https://usa.visa.com/visa-everywhere/innovation/connected-commerce/tap-to-phone.html
 Case 1:24-cv-00244-RGA Document 1-3 Filed 02/23/24 Page 26 of 31 PageID #: 57




https://usa.visa.com/visa-everywhere/innovation/connected-commerce/tap-to-phone.html
 Case 1:24-cv-00244-RGA Document 1-3 Filed 02/23/24 Page 27 of 31 PageID #: 58




https://usa.visa.com/visa-everywhere/innovation/connected-commerce/tap-to-phone.html
 Case 1:24-cv-00244-RGA Document 1-3 Filed 02/23/24 Page 28 of 31 PageID #: 59




https://www.youtube.com/watch?v=xzEYrPkKUOw
 Case 1:24-cv-00244-RGA Document 1-3 Filed 02/23/24 Page 29 of 31 PageID #: 60




https://usa.visa.com/visa-everywhere/innovation/connected-commerce/tap-to-phone.html
 Case 1:24-cv-00244-RGA Document 1-3 Filed 02/23/24 Page 30 of 31 PageID #: 61




https://www.youtube.com/watch?v=cU7VxMJf3u8&ab_channel=VisaCommunication
 Case 1:24-cv-00244-RGA Document 1-3 Filed 02/23/24 Page 31 of 31 PageID #: 62




https://www.youtube.com/watch?v=cU7VxMJf3u8&ab_channel=VisaCommunication
